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IN THE UNITED STATES DISTRICT COURT: od
| 2919 JUN -6 AR IG: &8
FOR THE DISTRICT OF MARYLAND i

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ROBERT HAUGHIE, ) - al
) mi rao 4,
Plaintiff, ) a ~UEPS
)
v, ) Case No, ELH-18-3963
)
WEXFORD HEALTH SOURCES, INC., et )
al. )
}
Defendants. }
ORDER

Upon consideration of Plaintiff's motion to extend time to respond to the medical
defendant’s motion to dismiss it is hereby ORDERED, that the motion be GRANTED; it
is further ORDERED that plaintiff have until July 6, 2019 to respond to medical

defendants motion to dismiss.

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